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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION

                                                          CASE NO.: 9:20-cv-80155-DMM

  HOWARD COHAN,

         Plaintiff,

  vs.


  SUNSHINE GASOLINE DISTRIBUTORS, INC.,
  d/b/a SHELL

        Defendant(s).
  ____________________________________/

                                    NOTICE OF SETTLEMENT

         The Plaintiff, HOWARD COHAN, and the Defendant, SUNSHINE GASOLINE

  DISTRIBUTORS, INC., d/b/a SHELL (the “Parties”) hereby notify the Court that the instant

  action has settled., The Parties will file within ten (10) days a Joint Stipulation of Dismissal with

  Prejudice in accordance with the terms of the Settlement Agreement.

         RESPECTFULLY SUBMITTED April 30, 2020.

   By: /s/ Gregory S. Sconzo                        By: /s/ Edward S. Polk
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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on April 30, 2020, I electronically filed the foregoing document

  with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

  served this day on counsel of record in this action via transmission of Notices of Electronic Filing

  generated by CM/ECF.

                                                       _ /s/ Gregory S. Sconzo
                                                       Gregory S. Sconzo, Esq.




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